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                         UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION



TROY STACY ENTERPRISES INC.,
individually and on behalf of all others      Judge: Matthew W. McFarland
similarly situated,

                             Plaintiff,       Civil Action No. 1:20-cv-00312-MWM

           v.

THE CINCINNATI INSURANCE
COMPANY,

                             Defendant.




TASTE OF BELGIUM LLC, individually and
on behalf of all others similarly situated,   Judge: Matthew W. McFarland

                             Plaintiff,
                                              Civil Action No. 1:20-cv-00357-MWM
           v.

THE CINCINNATI INSURANCE
COMPANY, THE CINCINNATI
CASUALTY COMPANY, THE
CINCINNATI IDEMNITY COMPANY,
AND CINCINNATI FINANCIAL
CORPORATION,

                             Defendants.


                       PLAINTIFF’S MOTION TO CONSOLIDATE
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 SWEARINGEN SMILES LLC AND
 ELEISHA J NICKOLES DDS, individually                  Judge: Matthew W. McFarland
 and on behalf of all others similarly situated,

                               Plaintiffs,             Civil Action No. 1:20-cv-00517-MWM

            v.

 THE CINCINNATI INSURANCE
 COMPANY, THE CINCINNATI
 CASUALTY COMPANY, AND THE
 CINCINNATI INDEMNITY COMPANY,

                               Defendants.




 REEDS JEWELERS OF NIAGARA FALLS,
 INC., individually and on behalf of all others        Judge: Matthew W. McFarland
 similarly situated,

                               Plaintiff,              Civil Action No. 1:20-cv-00649-MWM

            v.

 CINCINNATI INSURANCE COMPANY,

                               Defendant.


                        PLAINTIFF’S MOTION TO CONSOLIDATE
       Plaintiff Troy Stacy Enterprises Inc., individually and on behalf of the other members of

the proposed classes it seeks to represent (collectively, the “Class”), and pursuant to Rule 42(a) of

the Federal Rules of Civil Procedure, moves to consolidate the four, above-captioned, class action

cases pending against Defendant The Cincinnati Insurance Company, to re-caption the case as

Troy Stacy Enterprises Inc., et al. v. The Cincinnati Insurance Company, et al., and for the other

relief set forth in the proposed order, submitted contemporaneously herewith.
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       Plaintiff’s Memorandum of Law in Support of this Motion is attached hereto and

incorporated herein by reference.

Dated: October 15, 2020

                                              Respectfully submitted,


                                              /s/ Adam J. Levitt
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                                                   Plaintiff’s Proposed Interim Class Counsel

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                                                   Additional Counsel for Plaintiff and the
                                                   Proposed Class



                               CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing was filed electronically using the Court’s

CM/ECF service, which will send notification of such filing to all counsel of record on this 15th

day October 2020.




                                            /s/ Kenneth P. Abbarno
                                            Kenneth P. Abbarno
                                            DICELLO LEVITT GUTZLER LLC



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